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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

TROJAN BATTERY COMPANY LLC,                     )
    Plaintiff,                                  )
                                                )
v.                                              )      Civil Action No. 4:21-cv-03075
                                                )
TROJAN EV LLC and GOLF CARTS                    )
OF CYPRESS LLC,                                 )
                                                )
       Defendant.                               )

                ORDER GRANTING DEFENDANTS’ UNOPPOSED
                 MOTION FOR LEAVE TO FILE UNDER SEAL

       The Court, having considered Defendants Trojan EV LLC’s and Golf Carts of

Cypress LLC’s Unopposed Motion for Leave to File Documents Under Seal with regard

to certain admitted trial exhibits is GRANTED. Accordingly, Defendants’ admitted trial

exhibits 22, 23, and 31 and Plaintiff’s admitted trial exhibits 96, 98, 100, 102, 165, 180

and 209 are to be filed under seal.

       IT IS SO ORDERED.

       SIGNED this ___ day of _________, 2023.



                                         ______________________________________
                                         THE HONORABLE GEORGE C. HANKS JR.
                                         UNITED STATES DISTRICT JUDGE




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